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                        IN THE UNITED STATES DISTRICT COURT

                       FOR THE EASTERN DISTRICT OF VIRGINIA

                                       Richmond Division

UNITED STATES OF AMERICA                     )
                                             )
       v.                                    )       Criminal No. 3:11CR21
                                             )
BARRY W. WOODBURY                            )
                                             )
       Defendant.                            )


                      UNITED STATES’ PROPOSED WITNESS LIST

       The following is a list of expected witnesses to be called by the United States in the

above matter:


       1. Officer Jon Bridges, Richmond City Police Department

       2. Officer Clyde Lindsey, Richmond City Police Department

       3. Officer Lamont Carey, Richmond City Police Department

       4. Sergeant Michael Lewandoski , Richmond City Police Department

       5. Special Agent Joseph Bradley, ATF

       6. Wendy Cohn, Virginia Department of Forensic Science
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                                 Respectfully submitted,

                                 NEIL H. MACBRIDE
                                 UNITED STATES ATTORNEY

                           By:   ____________/s/_______________
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                                 Special Assistant United States Attorney
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                                CERTIFICATE OF SERVICE

       I hereby certify that on the 27th day of June, 2011, I will electronically file the foregoing

with the Clerk of Court using the CM/ECF system, which will then send a notification of such

filing (NEF) to counsel of record.



                                      By:     ____________/s/_______________
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